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SOUTHERN DISTRICT OF MISSISSIPPI
FILED
PLEA AGREEMENT AUG - 2 2023
ARTHUR JOHNSTON
by OEPUTY
Subject Date
United States v. Vance Phillips June 22, 2023
Criminal No. 3:22-CR-116-DPJ-FKB
To: From:
Princess Abby Kimberly Purdie
Federal Public Defender’s Office Assistant United States Attorney
Counsel for Vance Phillips Southern District of Mississippi

Criminal! Division

Vance Phillips, Defendant herein, and Princess Abby, attorney for Defendant, have been
notified and understand and agree to the items contained herein, as well as in the Plea Supplement,
and that:

1. Count of Conviction. It is understood that, as of the date of this plea agreement,
Defendant and Defendant's attorney have indicated that Defendant desires to plead guilty to the
single count indictment.

2. Sentence. Defendant understands that the penalty for the offense charged in the
single count indictment, charging a violation of Title 18, United States Code, Section 1952(a)(3),
is not more than five (5) years in prison; a term of supervised release of not more than three (3)
years; and a fine of up to $250,000 or twice the pecuniary gain or loss. Defendant further
understands that if a term of supervised release is imposed, that term will be in addition to any
prison sentence Defendant receives; further, if any of the terms of Defendant's supervised release
are violated, Defendant can be returned to prison for the entire term of supervised release, without
credit for any time already served on the term of supervised release prior to Defendant's violation
of those conditions. It is further understood that the Court may require Defendant to pay restitution

in this matter in accordance with applicable law. Defendant further understands that Defendant is
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liable to make restitution for the full amount of the loss determined by the Court, to include relevant
conduct, which amount is not limited to the count of conviction. Defendant further understands
that if the Court orders Defendant to pay restitution, restitution payments cannot be made to the
victim directly but must be made to the Clerk of Court, Southern District of Mississippi.

3. Determination of Sentencing Guidelines. It is further understood that the United

States Sentencing Guidelines are advisory only and that Defendant and Defendant's attorney have
discussed the fact that the Court must review the Guidelines in reaching a decision as to the
appropriate sentence in this case, but the Court may impose a sentence other than that indicated by
the Guidelines if the Court finds that another sentence would be more appropriate. Defendant
specifically acknowledges that Defendant is not relying upon anyone's calculation of a particular
Guideline range for the offense to which Defendant is entering this plea, and recognizes that the
Court will make the final determination of the sentence and that Defendant may be sentenced up
to the maximum penalties set forth above.

4, Breach of This Agreement and Further Crimes. It is further understood that
should Defendant fail or refuse as to any part of this plea agreement or commit any further crimes,
then, at its discretion, the U.S. Attorney may treat such conduct as a breach of this plea agreement
and Defendant's breach shall be considered sufficient grounds for the pursuit of any prosecutions
which the U.S. Attorney has not sought as a result of this plea agreement, including any such
prosecutions that might have been dismissed or otherwise barred by the Double Jeopardy Clause,
and any federal criminal violation of which this office has knowledge.

5. Financial Obligations. It is further understood and specifically agreed to by
Defendant that, at the time of the execution of this document or at the time the plea is entered,

Defendant will then and there pay over the special assessment of $100.00 per count required by

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Title 18, United States Code, Section 3013, to the Office of the United States District Court Clerk;
Defendant shall thereafter produce proof of payment to the U.S. Attorney or the U.S. Probation
Office. If the Defendant is adjudged to be indigent, payment of the special assessment at the time
the plea is entered is waived, but Defendant agrees that it may be made payable first from any
funds available to Defendant while Defendant is incarcerated. Defendant understands and agrees
that, pursuant to Title 18, United States Code, Section 3613, whatever monetary penalties are
imposed by the Court will be due and payable immediately and subject to immediate enforcement
by the United States as provided in Section 3613. Furthermore, Defendant agrees to complete a
Department of Justice Financial Statement no later than the day the guilty plea is entered and
provide same to the undersigned AUSA. Defendant also agrees to provide all of Defendant's
financial information to the Probation Office and, if requested, to participate in a pre-sentencing
debtor's examination. If the Court imposes a schedule of payments, Defendant understands that
the schedule of payments is merely a minimum schedule of payments and not the only method,
nor a limitation on the methods, available to the United States to enforce the judgment. If
Defendant is incarcerated, Defendant agrees to participate in the Bureau of Prisons’ Inmate
Financial Responsibility Program regardless of whether the Court specifically directs participation
or imposes a schedule of payments. Defendant understands and agrees that Defendant shall
participate in the Treasury Offset Program until any and all monetary penalties are satisfied and
paid in full by Defendant.

6. Transferring and Liquidating Assets. Defendant understands and agrees that
Defendant is prohibited from transferring or liquidating any and all assets held or owned by
Defendant as of the date this Plea Agreement is signed. Defendant must obtain prior written

approval from the U.S. Attorney’s Financial Litigation Unit prior to the transfer or liquidation of

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any and all assets after this Plea Agreement is signed and if Defendant fails to do so the Defendant
understands and agrees that an unapproved transfer or liquidation of any asset shall be deemed a
fraudulent transfer or liquidation.

7. Future Direct Contact With Defendant. Defendant and Defendant’s attorney

acknowledge that if forfeiture, restitution, a fine, or special assessment or any combination of
forfeiture, restitution, fine, and special assessment is ordered in Defendant’s case that this will
require regular contact with Defendant during any period of incarceration, probation, and
supervised release. Further, Defendant and Defendant's attorney understand that it is essential that
defense counsel contact the U.S. Attorney’s Financial Litigation Unit immediately after sentencing
in this case to confirm in writing whether defense counsel will continue to represent Defendant in
this case and in matters involving the collection of the financial obligations imposed by the Court.
If the U.S. Attorney does not receive any written acknowledgment from defense counsel within
two weeks from the date of the entry of Judgment in this case, the U.S. Attorney will presume that
defense counsel no longer represents Defendant and the Financial Litigation Unit will
communicate directly with Defendant regarding collection of the financial obligations imposed by
the Court. Defendant and Defendant’s attorney understand and agree that such direct contact with
Defendant shall not be deemed an improper ex parte contact with Defendant if defense counsel
fails to notify the U.S. Attorney of any continued legal representation within two weeks after the
date of entry of the Judgment in this case.

8. Waivers. Defendant, knowing and understanding all of the matters aforesaid,
including the maximum possible penalty that could be imposed, and being advised of Defendant's
rights to remain silent, to trial by jury, to subpoena witnesses on Defendant’s own behalf, to

confront the witnesses against Defendant, and to appeal the conviction and sentence, in exchange

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for the U.S. Attorney entering into this plea agreement and accompanying plea supplement, hereby
expressly waives the following rights:

a. the right to appeal the conviction and sentence imposed in this case, or the
manner in which that sentence was imposed, on the grounds set forth in Title 18, United States
Code, Section 3742, or on any ground whatsoever, and

b. the right to contest the conviction and sentence or the manner in which the
sentence was imposed in any post-conviction proceeding, on any ground whatsoever, including
but not limited to a motion brought under Title 28, United States Code, Section 2255, and any type
of proceeding claiming double jeopardy or excessive penalty as a result of any forfeiture ordered
or to be ordered in this case, and

c. any right to seek attorney fees and/or costs under the “Hyde Amendment,”
Title 18, United States Code, Section 3006A, and the Defendant acknowledges that the
government’s position in the instant prosecution was not vexatious, frivolous, or in bad faith, and

d. all rights, whether asserted directly or by a representative, to request or
receive from any department or agency of the United States any records pertaining to the
investigation or prosecution of this case, including without limitation any records that may be
sought by Defendant or by Defendant's representative under the Freedom of Information Act, set
forth at Title 5, United States Code, Section 552, or the Privacy Act of 1974, at Title 5, United
States Code, Section 552a.

€. Defendant further acknowledges and agrees that any factual issues
regarding the sentencing will be resolved by the sentencing judge under a preponderance of the
evidence standard, and Defendant waives any right to a jury determination of these sentencing

issues. Defendant further agrees that, in making its sentencing decision, the district court may

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consider any relevant evidence without regard to its admissibility under the rules of evidence
applicable at trial.
Notwithstanding the foregoing, Defendant retains the right to pursue a claim
of ineffective assistance of counsel.
Defendant waives these rights in exchange for the United States Attorney entering
into this plea agreement and accompanying plea supplement.

9, Complete Agreement. It is further understood that this plea agreement and the

plea supplement completely reflects all promises, agreements and conditions made by and between
the United States Attorney’s Office for the Southern District of Mississippi and Defendant.

Defendant and Defendant’s attorney of record declare that the terms of this plea
agreement have been:

READ BY OR TO DEFENDANT;

EXPLAINED TO DEFENDANT BY DEFENDANT'S ATTORNEY;
UNDERSTOOD BY DEFENDANT;

VOLUNTARILY ACCEPTED BY DEFENDANT; and

AGREED TO AND ACCEPTED BY DEFENDANT.

tn Gl ee

WITNESS OUR SIGNATURES, as set forth below.

DARREN J. LAMARCA
United States Attorney

Kwnbeluy- Purdie, ¢/ala2

Kimberly T. Purdie Date
i United States Attorney

CnVCs__ hic S+ 2-25
Vance Phillips Date
iy ae
Princess Abby UU Date

Attorney for Defendant
